 Case 4:12-cr-00030-JPJ Document 83 Filed 01/29/21 Page 1 of 7 Pageid#: 336




                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         DANVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )     Case No. 4:12CR00030
                                                )
v.                                              )             OPINION
                                                )
PARNELL L. MOORE,                               )     By: James P. Jones
                                                )     United States District Judge
                  Defendant.                    )

      Heather L. Carlton, Assistant United States Attorney, Charlottesville,
Virginia, for United States; Christine Madeleine Lee, Assistant Federal Public
Defender, Roanoke, Virginia, for Defendant.

      The defendant by counsel has filed a motion seeking to vacate his sentence

under 28 U.S.C. § 2255. The motion challenges the validity of the defendant’s guilty

plea to 18 U.S.C. § 922(g)(1), arguing that he was not informed of the true nature of

the charge, in light of the subsequent decision of the Supreme Court in Rehaif v.

United States, 139 S. Ct. 2191 (2019). The United States has filed a motion to

dismiss. For the reasons stated, I will grant the government’s motion and dismiss

the § 2255 motion.

                                         I.

      Defendant Parnell L. Moore pled guilty, without a plea agreement, to a

Superseding Indictment charging him with three counts of distributing cocaine base,

in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C) (Counts One, Four, and Five), three
 Case 4:12-cr-00030-JPJ Document 83 Filed 01/29/21 Page 2 of 7 Pageid#: 337




counts of possession of a firearm by a convicted felon, in violation of 18 U.S.C. §

922(g)(1) (Counts Two, Six, and Eight), and two counts of using and carrying a

firearm during a drug trafficking crime and possessing the firearm in furtherance of

the drug trafficking crime, in violation of 18 U.S.C. § 924(c) (Counts Three and

Seven). The court sentenced Moore on July 26, 2013, to a term of 420 months of

imprisonment consisting of 60 months Counts One, Two, Four, Five, Six, and Eight,

to run concurrently, and 60 months on Count 3 and 300 months on Count Seven, to

run consecutively to each other and all other counts. Moore’s direct appeal was

unsuccessful. United States v. Moore, 553 F. App’x 335, 336 (4th Cir. 2014)

(unpublished).

      The government alleged that Moore sold two handguns, a shotgun, and crack

cocaine to a confidential informant in a series of controlled purchases. Moore had

previously been convicted of two felony offenses in Virginia state court. He had

been sentenced to five years imprisonment with four years suspended for possessing

cocaine and four years imprisonment with three years and four months suspended

for assaulting a law enforcement officer. Presentence Investigation Report 7–9, ECF

No. 56.

      In Rehaif, the Court held that to be convicted under § 922(g), “the Government

must prove both that the defendant knew he possessed a firearm and that he knew

he belonged to the relevant category of persons barred from possessing a firearm.”


                                        -2-
 Case 4:12-cr-00030-JPJ Document 83 Filed 01/29/21 Page 3 of 7 Pageid#: 338




139 S. Ct. at 2200 (emphasis added). Moore was not so advised before he pleaded

guilty.

      The government does not contest that Rehaif applies retroactively to collateral

review, Gov’t Opp’n Def.’s Pet. 5–6, ECF No. 78,1 but it asserts that Moore has

procedurally defaulted the claim by failing to raise it before his conviction became

final. See Bousley v. United States, 523 U.S. 614, 621–22 (1998).2

                                                  II.

      Where a defendant has procedurally defaulted a claim, the claim may be raised

in habeas only if the defendant can first demonstrate either “cause” and actual

“prejudice.” Id. at 622. “The existence of cause for a procedural default must turn

on something external to the defense, such as the novelty of the claim or a denial of

effective assistance of counsel.” United States v. Pettiford, 612 F.3d 270, 280 (4th

Cir. 2010) (citation omitted). A novel claim is one that was “not reasonably

available to counsel” but the Supreme Court later accepted it, and in doing so

overturned “a longstanding and widespread practice to which [the Supreme] Court


      1
          Several circuits have held to the contrary in the context of applications for
successive 2255 motions. Tate v. United States, 982 F.3d 1226, 1227 (9th Cir. 2020);
Mata v. United States, 969 F.3d 91, 93 (2d Cir. 2020); In re Sampson, 954 F.3d 159, 161
(3d Cir. 2020); In re Palacios, 931 F.3d 1314, 1315 (11th Cir. 2019). The Fourth Circuit
has not yet ruled on the issue.
      2
           The government also contends that the § 2255 motion is defective because it is
not “signed under penalty of perjury by the movant or by a person authorized to sign it for
the movant.” Rules Governing Section 2255 Proceedings 2(b)(5). However, since the
facts are undisputed matters of record, I find that this requirement may be excused.
                                            -3-
 Case 4:12-cr-00030-JPJ Document 83 Filed 01/29/21 Page 4 of 7 Pageid#: 339




has not spoken, but which a near-unanimous body of lower court authority has

expressly approved.” Reed v. Ross, 468 U.S. 1, 16, 17 (1984) (internal quotation

marks and citation omitted).

      The Fourth Circuit has not decided whether Rehaif claims are novel. District

courts within the Fourth Circuit have disagreed on the issue.3 I need not determine

whether Moore’s Rehaif claim is novel and cause for a procedural default because

the motion has failed to show that Moore suffered actual prejudice in any event.

      “To show actual prejudice,” the defendant must show that “the error worked

to his actual and substantial disadvantage.” Satcher v. Pruett, 126 F.3d 561, 572

(4th Cir. 1997) (internal quotation marks and citations omitted). Absent showing

that an error had a “substantial and injurious effect” on the defendant’s conviction,

the error will be harmless and not warrant relief. United States v. Smith, 723 F.3d

510, 517 (4th Cir. 2013) (internal quotation marks and citations omitted).

      Moore has not shown actual prejudice because he has not demonstrated how

the failure to communicate § 922(g)’s knowledge requirement worked to his

substantial disadvantage. The motion does not contend that Moore was unaware that

he had been convicted of a felony, or that he would have pleaded not guilty if


      3
           Compare Jones v. United States, No. 1:16-cr-94-MOC-DLH-1, 2020 WL
7318140, at *6 (W.D.N.C. Dec. 11, 2020) (concluding that Rehaif claims were not novel)
with Merritt v. United States, Case No. 4:10-CR-54, 2020 WL 6568315, at *5 (E.D. Va.
Nov. 9, 2020) (concluding that Rehaif claim was novel and provided cause for a procedural
default but denying § 2255 motion because defendant did not show prejudice).
                                           -4-
 Case 4:12-cr-00030-JPJ Document 83 Filed 01/29/21 Page 5 of 7 Pageid#: 340




informed that the government would have to prove he had knowledge of his status.

The record contains substantial evidence that Moore knew he was a felon prohibited

from possessing a firearm.      Moore had been sentenced to prison for cocaine

possession and for assaulting a police officer. Moreover, a Virginia probation

document bearing what appears to be Moore’s signature informed the signor that a

felon loses “the right to use, own, possess, transport, or carry a firearm,” and “[t]his

is a permanent right you have lost since you have been convicted of a felony.” Gov’t

Mot. Expand R. Ex. 1 at 3, ECF No. 77-1. Moore was unaware when he pleaded

guilty that the government would have to prove that he knew he was a felon, but the

government likely would have met this burden at trial. Thus, the omission did not

substantially disadvantage Moore. In other words, the failure to instruct Moore of §

922(g)’s knowledge requirement was harmless. The motion does not show that this

alleged error induced Moore to plead guilty, that Moore would have entered a plea

of not guilty if informed, or that an outcome other than a conviction would have

resulted at trial.

       Nor has Moore demonstrated actual innocence. The standard for actual

innocence requires a defendant to show that “in light of all the evidence, it is more

likely than not that no reasonable juror would have convicted him.” Bousley, 523

U.S. at 623. “Actual innocence means factual innocence, not mere legal sufficiency”

for a defense or acquittal. Id. at 623.


                                          -5-
 Case 4:12-cr-00030-JPJ Document 83 Filed 01/29/21 Page 6 of 7 Pageid#: 341




      The government represented that it was prepared to submit videos clearly

showing Moore’s face and his “engaging in these combined gun and drug

transactions,” Arraignment Tr. 30, ECF No. 69, and “numerous CDs . . . video/audio

recordings,” and “telephone calls that led up to that sort of thing.” Guilty Plea Hr’g

Tr. 18, ECF No. 66. Moore has not shown the likelihood that no reasonable juror

would have convicted him on the § 922(g)(1) charge, especially considering the

government’s evidence that he made these gun sales and knew he was a felon. The

motion fails to demonstrate Moore’s actual innocence.

      Moore relies on United States v. Gary, 954 F.3d 194 (4th Cir. 2020), cert.

granted, No. 20-444, 2021 WL 77245 (U.S. Jan. 8, 2021), holding that a district

court’s failure to inform the defendant of the Rehaif knowledge element at a change-

of-plea hearing was a “structural error,” that satisfied the need for review for

prejudice. But Gary involved a direct appeal rather than a collateral review and in

accord with other district judges in this circuit, I find that it is inapplicable. United

States v. Claytor, No. 7:15CR00070, 2021 WL 62272, at *5 (W.D. Va. Jan. 7, 2021)

(citing cases).

                                          III.

      For these reasons, the United States’ motion to dismiss will be granted and

the § 2255 motion will be dismissed. A separate final order will be entered herewith.




                                           -6-
Case 4:12-cr-00030-JPJ Document 83 Filed 01/29/21 Page 7 of 7 Pageid#: 342




                                         DATED: January 29, 2021

                                         /s/ JAMES P. JONES
                                         United States District Judge




                                   -7-
